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MELLINGER KARTZMAN LLC
101 Gibraltar Drive, Suite 2F
Morris Plains, New Jersey 07950
Steven A. Jayson, Esq.                                                Order Filed on February 17, 2023
Tel. (973) 267-0220                                                   by Clerk
sjayson@msklaw.net                                                    U.S. Bankruptcy Court
                                                                      District of New Jersey
Attorneys for Steven P. Kartzman, Chapter 7 Trustee

                                                 UNITED STATES BANKRUPTCY COURT
 In re:                                          FOR THE DISTRICT OF NEW JERSEY

 GERALD P. IORIO,                                Chapter 7

                                Debtor.          Case No.: 22-15082 (JKS)

                                                 Hon. John K. Sherwood

 CONSENT ORDER AUTHORIZING THE SALE OF THE CO-OWNER’S INTEREST
IN THE REAL PROPERTY LOCATED AT 8 DELLWOOD DRIVE, FLORHAM PARK,
                          NEW JERSEY

          The relief set forth on the following pages numbered two (2) through four (4) is hereby

ORDERED.




 DATED: February 17, 2023
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Debtor:     Gerald P. Iorio
Case No.: 22-15082 (JKS)
Caption:    Consent Order Authorizing the Sale of the Co-Owner’s Interest in the Real Property Located at 8
            Dellwood, Florham Park, New Jersey
        THIS MATTER having been brought before the Court by Steven P. Kartzman, Chapter 7

Trustee (the “Trustee”), by and through his attorneys Mellinger Kartzman LLC, on application

for the entry of a Consent Order in lieu of a complaint for authority to sell co-owner’s interests in

real property under 11 U.S.C. § 363(h); and the Trustee and the co-owner, Jeanine Iorio (the

“Co-Owner”) of the real property located at 8 Dellwood Drive, Florham Park, New Jersey,

having agreed to a resolution of the issues on the terms set forth herein, as appears from the

signatures of counsel affixed hereto, it is hereby

        ORDERED AS FOLLOWS:

        1.      The Trustee be, and is hereby, authorized to sell the real property located at 8

Dellwood Drive, Florham Park, New Jersey (the “Property”), such property co-owned by the

debtor, Gerald P. Iorio (the “Debtor”) and Jeanine Iorio (the “Co-Owner”) pursuant to 11 U.S.C.

§ 363(h).

        2.      To the extent that the Co-Owner’s interest in the Property is sold pursuant to 11

U.S.C. § 363(h), the Co-Owner shall be entitled to a distribution based upon and to the extent of

her interest in the Property, subject to the provisions of 11 U.S.C. § 363(j).

        3.      Pursuant to 11 U.S.C. § 363(j), once a closing occurs, the net proceeds after (a)

the costs of the sale of the Property including, but not limited to, legal fees and any other

expenses commonly associated with the sale of residential property in New Jersey; and (b)

satisfaction of any mortgages, municipal liens, and any other liens against the Property which

were incurred by both the Debtor and the Co-Owner, will be distributed by the Trustee 50% to

the estate and 50% to the Co-Owner.
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Debtor:     Gerald P. Iorio
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            Dellwood, Florham Park, New Jersey
        4.      If a Contract for the sale of the Property is received before April 15, 2023, the

Trustee agrees not to close on the sale of the Property before April 15, 2023.

        5.      The Estate and the Co-Owner will be solely obligated to satisfy any lien solely

against its or her interest, from its or her share of the net proceeds.

        6.      The parties hereto shall execute any and all documents and pleadings reasonably

necessary to implement all of the foregoing provisions.

        7.      The Co-Owner hereby submits to the jurisdiction of this Court for the resolution

of all issues arising hereunder and the Bankruptcy Court shall retain exclusive jurisdiction to

adjudicate all matters arising under or in connection with this Consent Order.

        8.      The parties, and anyone who succeeds to their rights and responsibilities

hereunder, including their successors and/or assigns, are bound by this Consent Order. This

Consent Order is made for the benefit of the parties and all who succeed to their rights and

responsibilities.

        9.      A copy of this Order shall be served on all interested parties within five (5) days

from the date of entry.
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